          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
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                        No. 1D2022-2641
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WOODROW PATTERSON, III,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Coleman L. Robinson, Judge.


                         August 21, 2024


PER CURIAM.

     Woodrow Patterson, III, appeals following a guilty plea for
possession of a firearm by a convicted felon, carrying a concealed
firearm, resisting an officer without violence, and improper vehicle
registration. Based on our review of the record, we affirm the
judgment and sentence. * Further, we affirm the trial court’s
imposition of costs under section 938.27(8), Florida Statutes. See
Parks v. State, 371 So. 3d 392, 393 (Fla. 1st DCA 2023).

    AFFIRMED.


    * See Anders v. California, 386 U.S. 738 (1967).
ROBERTS, KELSEY, and WINOKUR, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Lori A. Willner, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and David Welch, Assistant
Attorney General, Tallahassee, for Appellee.




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